                Case 1:25-cv-01217-CRC                   Document 2         Filed 04/21/25         Page 1 of 1

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                                   United States District Court
                                   For the District of Columbia
                                                    )
AMERICAN CIVIL LIBERTIES
                                                    )
UNION                                               )
                                                    )
                                     Plaintiff      )                          25-cv-1217
                                                             Civil Action No._______________________
                       vs
                                                    )
UNITED STATES SOCIAL                                )
SECURITY ADMINISTRATION et al.                      )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR .1

                                           American Civil Liberties Union
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           American Civil Liberties Union
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  None




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               _V0HJDQ&.HHQDQ_______________BBBBB
                                                               Signature

 7523817
________________________________________                       Megan C. Keenan
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               915 15th Street NW, 6th Floor
                                                               _______________________________________
                                                               Address

                                                               Washington    DC           20005
                                                               _______________________________________
                                                               City         State       Zip Code

                                                               (917) 710-3245
                                                               _______________________________________
                                                               Phone Number
